
OVERTON, Justice.
Daniel Edward Schesny petitions this Court to review Schesny v. State, 564 So.2d 640 (Fla. 1st DCA 1990), in which the First District Court of Appeal affirmed Schesny’s probationary split sentence. The district court certified the following question as one of great public importance:
DOES A DOUBLE JEOPARDY VIOLATION RESULT FROM THE IMPOSITION OF A PROBATIONARY SPLIT SENTENCE WHEN THE LEGISLATURE HAS NOT EXPLICITLY AUTHORIZED THAT DISPOSITION IN THE SENTENCING ALTERNATIVES OF SECTION 921.187, FLORIDA STATUTES?
Id. at 640-41.1 In Glass v. State, 574 So.2d 1099, 1101 (Fla.1991), we rephrased an identical question to read:
IS THERE STATUTORY AUTHORIZATION FOR A PROBATIONARY SPLIT SENTENCE?
We answered the rephrased question in the affirmative.
*655In accordance with our decision in Glass, we approve the decision of the First District Court of Appeal in this case.
It is so ordered.
SHAW, C.J., and McDONALD, BARKETT, GRIMES, KOGAN and HARDING, JJ., concur.

. We have jurisdiction. Art. V, § 3(b)(4), Fla. Const.

